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                    8                              UNITED STATES DISTRICT COURT
                    9                            EASTERN DISTRICT OF CALIFORNIA
                   10   U.S. EQUAL EMPLOYMENT                    CASE NO. 2:19-cv-02187-MCE-CKD
                        OPPORTUNITY COMMISSION,                  Honorable Morrison C. England, Jr
                   11
                                                 Plaintiff,
                   12                                            DEFENDANT WIRELESS WORLD
                                                 vs.             LLC’S OPPOSITION TO
                   13
                        ELITE WIRELESS GROUP, INC.,              PLAINTIFF’S EX PARTE
                   14   and WIRELESS WORLD LLC d/b/a             APPLICATION TO SET TRIAL
                        EXPERTS CHOICE,                          DATE AND RELATED DEADLINES
                   15
                                                 Defendant.
                   16                                            Complaint Filed: October 29, 2019
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                    1           Defendant Wireless World LLC (“Defendant”) opposes Plaintiff U.S. Equal
                    2   Employment Opportunity Commission’s (“EEOC”) third ex parte application
                    3   (Doc. No. 61) to extend all of the deadlines in this case. The EEOC filed this case
                    4   nearly five years ago in 2019, based on conduct that occurred nearly seven years
                    5   ago in 2017. The EEOC has already filed ex parte applications twice to extend
                    6   deadlines in this case (Doc. Nos. 30, 46), which the Court granted. (Doc. Nos. 40,
                    7   48.)
                    8           A third extension of case deadlines is not warranted under the Local Rules,
                    9   nor is it warranted based on the EEOC’s repeated failure to prosecute this case,
                   10   despite forewarning from the Court as recently as October 31, 2023 (Doc. No. 52).
                   11   See Local Rule 144(c) (“Except for one such initial extension, ex parte applications
                   12   for extension of time are not ordinarily granted.”). Accordingly, Defendant
                   13   respectfully requests that the Court: (1) deny the EEOC’s third ex parte application
                   14   to extend case deadlines and (2) dismiss this action with prejudice under Federal
                   15   Rule of Civil Procedure 41(b) for failure to prosecute.
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                   17   DATED: February 9, 2024             STRADLING YOCCA CARLSON & RAUTH
                   18                                       LLP
                   19
                   20                                       By: /s/ Karla Kraft
                                                                Karla Kraft
                   21                                           Sean Thomas Lobb
                                                                Attorneys for Defendant
                   22                                           Wireless World LLC
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